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               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                  Case No. 3:23cr34-MCR-3

KEONTRE M DORTCH,

      Defendant.
                                      /

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, KEONTRE M DORTCH, to Count One of the Indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

      DONE AND ORDERED this 27th day of September 2023.



                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
